         Case 1:21-cr-00175-TJK Document 56 Filed 04/12/21 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                )
                                         )      1:21-CR-175-4
             v.                          )
                                         )
CHARLES DONOHOE,                         )
                                         )
                    Defendant.           )

                  MOTION TO CONTINUE DETENTION HEARING

             NOW COMES Defendant, CHARLES DONOHOE, by and through

counsel, and moves that the Detention Hearing scheduled for April 12, 2021 at 3:00 p.m.,

be continued, and in support of this Motion respectfully shows unto the Court:

             1.     On April 6, 2021, the undersigned, who practices law in Winston

                    Salem, North Carolina was appointed to represent Mr. Donohoe. At

                    the time of the appointment, Mr. Donohoe was housed in the

                    Alamance County Detention Center, located in Graham, North

                    Carolina approximately 51 miles from the undersigned’s office. Due

                    to the COVID-19 virus, the undersigned regularly utilizes Jurislink,

                    a confidential video conferencing system for inmates and attorneys

                    which is available at the Alamance County Detention Center. Using

                    Jurislink, attorneys can schedule meeting up to 120 minutes long.

                    Jurislink also allows attorneys to review discovery and other

                    documents with detained clients. The undersigned scheduled a
Case 1:21-cr-00175-TJK Document 56 Filed 04/12/21 Page 2 of 5




         Jurislink meeting with Mr. Donohoe for Friday, April 9, 2021 at

         4:15, and planned a second meeting for Sunday, April 11 to prepare

         for the upcoming detention hearing. The undersigned had two

         potential bench trials scheduled in state court on April 7 and April 8,

         therefore April 9 was the earliest date a meeting could be scheduled

         with Mr. Donohoe.

   2.    On Friday, April 9, 2021 at 4:15 pm, the undersigned learned that

         Mr. Donohoe was no longer housed at the Alamance County

         Detention Center. The undersigned was informed of this when Mr.

         Donohoe did not appear for the scheduled Jurislink meeting. The

         undersigned checked with all of the local jails that housed federal

         inmates and could not locate Mr. Donohoe. Later that evening, the

         undersigned learned that Mr. Donohoe had been removed from the

         Alamance County Jail earlier that day and flown to Oklahoma. Mr.

         Donohoe’s current location in Oklahoma was confirmed this

         morning by the U.S. Marshal.

   3.    Because Mr. Donohoe was moved to Oklahoma, the undersigned

         was unable to confer with Mr. Donohoe and prepare for the hearing.

   4.    In order to provide effective representation to Mr. Donohoe it is

         necessary for the undersigned to meet with him prior to the detention

         hearing. Therefore, the undersigned respectfully requests a

         continuance of the scheduled detention hearing for one week, until
         Case 1:21-cr-00175-TJK Document 56 Filed 04/12/21 Page 3 of 5




                    April 19, 2021 so that she can arrange to schedule meetings that will

                    allow for confidential attorney/client discussions with Mr. Donohoe

                    in order to fully prepare for the detention hearing.

             5.     The undersigned has not requested any previous continuances. This

                    request is not for the purpose of unnecessary delay, and further that

                    the ends of justice would be served by continuing this case until the

                    undersigned can arrange to meet with Mr. Donohoe. For the reasons

                    stated above, failure to continue this matter would result in a

                    miscarriage of justice.

             6.     The period of delay, if any, occasioned by this continuance should

                    be excluded in computing the time within which Defendant's trial

                    must commence pursuant to 18 U.S.C. § 3161 (The Speedy Trial

                    Act) as the ends of justice served by any such delay outweigh the

                    best interests of the public and the Defendant in a speedy trial.

             7.     The undersigned has informed Assistant United States Attorney

                    Jason McCullough of this motion, and he has no objection.

      WHEREFORE, the undersigned requests that the Court continue the detention

hearing in the above-captioned matter for one week, until April 19, 2021.

             Respectfully submitted, April 12, 2021.

                                                /s/ Lisa S. Costner
                                                ______________________________
                                                Lisa S. Costner
                                                N.C. State Bar #14308
                                                Lisa S. Costner, P.A.
Case 1:21-cr-00175-TJK Document 56 Filed 04/12/21 Page 4 of 5




                                 952 W. 4th St., Ste 200
                                 Winston-Salem, NC 27101
                                 (336)748-1885
                                 lisa@lisacostnerlaw.com
         Case 1:21-cr-00175-TJK Document 56 Filed 04/12/21 Page 5 of 5




                            CERTIFICATE OF SERVICE

      I hereby certify that on April 12, 2021, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing
to:


Jason McCullough
Assistant United States Attorney




                           Respectfully Submitted, April 12, 2021.




                                                 /s/ Lisa S Costner
                                                 ______________________________
                                                 Lisa S. Costner
                                                 N.C. State Bar #14308
                                                 Lisa S. Costner, P.A.
                                                 952 W. 4th St., Ste 200
                                                 Winston-Salem, NC 27101
                                                 (336)748-1885
                                                 lisa@lisacostnerlaw.com
